Case 1:01-cv-12257-PBS Document 6195-9 Filed 06/26/09 Page 1 of 4

TAB 8
Case 1:01-cv-12257-PBS Document 6195-9 Filed 06/26/09 Page 2 of 4

Page 1
NO. GV3-03079

THE STATE OF TEXAS IN THE DISTRICT COURT
ex rel.

VEN-A-CARE OF THE

FLORIDA KEYS, INC.,

Plaintiff(s),

vs. TRAVIS COUNTY, TEXAS
ROXANE LABORATORIES, INC.,
BOEHRINGER INGELHEIM
PHARMACEUTICALS, INC., BEN
VENUE LABORATORIES, INC. and )
BOEHRINGER INGELHEIM )

CORPORATION, ) f:
Defendant(s). ) 201ST JUDICIAL DISTRICT !

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ORAL AND VIDEOTAPED DEPOSITION OF
RICHARD FELDMAN
November 17, 2004
(ATTORNEYS! EYES ONLY PENDING ENTRY OF
CONFIDENTIALITY ORDER)

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ORAL AND VIDEOTAPED DEPOSITION OF RICHARD FELDMAN,
produced as a witness at the instance of the
Plaintiff(s), and duly sworn, was taken in the
above-styled and numbered cause on the 17th of
November, 2004, from 9:15 a.m. to 4:42 p.m., before :
CYNTHIA VOHLKEN, CSR in and for the State of Texas,
reported by machine shorthand, at the offices of
Robinson & Cole, One Boston Place, Boston,
Massachusetts, pursuant to the Texas Rules of Civil

Procedure and the provisions attached previously.

Pee EEE EE eR trey en Se EEE SRE Rah op yey eee Pe FP

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Case 1:01-cv-12257-PBS Document 6195-9 Filed 06/26/09 Page 3 of 4

Page 82 Page 84}:
1 Q. Do you know what the policies or procedures 1 room --
2 are BIPI about what they do with the hard drives or 2 MR. McCONNICO: Okay.
3 information left on computers of employees that leave? | 3 THE WITNESS: -- while we're doing it.
4 A. I don't know what the policy is. Ido know 4 THE VIDEOGRAPHER: Off the record at
5 that if you need an extra computer, there was an old 5 11:16. This concludes Tape 2.
6 one around, they reprogram it and clean it up so you 6 (Recess from 11:16 to 11:23)
7 can use it. 7 THE VIDEOGRAPHER: Stand by, please. We}:
8 Q. Okay. Insofar as the -- Item Number 10, your 8 are back on the record at 11:23. This is the
9 personnel file, is there a central clearinghouse there 9 beginning of Tape 3.
10 at the BI companies for personnel files? Is that the 10 EXAMINATION
11 BISC, the BI -- the service center, do they maintain 11 BY MR. ANDERSON:
12 personnel records or do you know? 12 Q. Mr. Feldman, if I understand your testimony
13 A. Do not know. 13 previously, you were the executive trade director or,
14 Q. Do you know what entity or what person at 14 pardon me, executive director of trade affairs at
15 BIPI or any of the BI companies would have possession | 15 Roxane Laboratories, correct?
16 ofyour employment file during -- that was compiled 16 A. Yes.
17 during your tenure? 17 Q. And then in January of 2001 you transferred
18 A. I would assume it would be a human resources |18 to BIPI and you became the executive director of trade
19 function, but that's -- that's all I know. 19 affairs there, correct?
20 Q. Does Roxane have a human resources department; 20 A. Yes.
21 or is that handled by BISC? 21 Q. And in your -- in both of those positions as
22 A. Don't know. 22 executive director of trade affairs were you calling
23 Q. What human resources department are you aware| 23 or those that were reporting to you calling upon large
24 of that does exist to your knowledge for the BI 24 customers?
25 companies, under the BI umbrella? 25 A. Yes.
Page 83 Page 85 f
1 A. I know there's a BIPI, the company that I 1 Q. How many people, roughly, reported to you
2 worked for, has a human resources department. 2 when you were the executive trade director --
3 Q. Okay. And that would be up in Ridgefield, I 3 executive director of trade affairs at Roxane?
4 guess? 4 A. Roughly?
5 A. Yes. 5 Q. Yes, sir.
6 Q. What's the name of the person that's the head 6 A. Eight.
7 of that human resources department when you left? 7 Q. And those were direct reports?
8 A. Give me aname, I'll verify it. I mean, I -- 8 A. No.
9 Q. I don't know. 9 Q. How many people -- I didn't mean to cut you
10 A. Idon't remember his name. 10 off. How many people directly reported to you when
11 Q. Okay. All right. 11 you were the executive director of trade affairs at
12 A. I don't know who it is. 12 Roxane?
13 Q. Mr. Anderson has some questions he's going to} 13 =A. Don't remember.
14 ask you to -- have to do more with -- with documents | 14 Q. Recognizing that you may not be able to
15 and this may be the end of my questions. If I have 15 remember exactly the number, was there roughly four or |:
16 any additional questions for you at the end, I'm sure |16 five persons that reported to you?
17 they'll be limited, but I appreciate your attention 17 ~~ A. Yes.
18 during the time we've been together here today. Have|18 QQ. And then in turn did -- did those four or
19 I been courteous and polite to you at all times? 19 five people have account managers reporting to them?
20 A. Absolutely. 20 A. No.
21 MR. CRAWFORD: Allright. Thank you, | 21 Q. Did you have other -- well, first of all,
22 Mr. Feldman. 22 what was the job title of those four or five people
23 MR. McCONNICO: Rich, do you need 23 that reported to you when you were the executive
24 anything while we are changing, water, coffee? 24 director of trade affairs at Roxane?
25 __HE WITNESS: J can use e the 1 men! ‘Ss 25 A. J believe at the time they \ were national
22 (Pages 82 to 85)
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Case 1:01-cv-12257-PBS Document 6195-9 Filed 06/26/09 Page 4 of 4

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Page 86 Page 88 fi
1 account managers. 1 generally? i
2 Q. Other than the national account managers what| 2 A. Source program, from what I recall, was a
3 other personnel reported to you at Roxane? 3 program that the wholesaler would market and would
4 A. I had an administrative assistant and I had a 4 promote one product over another product.
5 director of national accounts, as I recall. 5 Q. So, for instance, where you've got
6 Q. How did the job description of the director 6 multiple -- multisource generics available, wholesale
7 of national accounts differ from the national account | 7 source program would pick one over others and promote |!
8 managers? 8 that one over the others; is that right? Generally.
9 A. The director of the national accounts had 9 A. Generally.
10 people, the national account managers, that reported {10 Q. And now that we've kind of explained what a
11 sup to him. 11 wholesale source program is, would you include those
12 Q. And was that person known by the name of 12 types of programs within your description of the
13 Jerry Walsh? 13 wholesale class of trade as a -- as a class of trade
14 A. Time sequence Jerry Walsh was the first 14 of customer that you and your group called on at
15 person -- [ mean, when I first got there Jerry Walsh |15 Roxane?
16 was -- I didn't even know what his title was, but he 16 A. No.
17 was director of accounts. I mean -- and] put thatin |17 QQ. Who at Roxane was in charge of sales to
18 quotes because I'm not sure exactly what his title was } 18 wholesale source programs?
19 because I don't remember. 19 A. The trade department, myself or my group.
20 Q. And then who succeeded Mr. Walsh in that 20 Q. Okay. How would you classify that class of
21. position? 21 trade? What would you describe it as?
22 A. Bob Sykora. 22 A. What I wanted to be clear was is that the
23 Q. So would it be -- okay. Continue. 23 wholesaler is a class of trade. Your question was
24 A. But it was not the exact same position. 24 broadened, as I understood it, I may have misheard
25 Q. Would it be fair to say that Mr. Walsh and 25 you. You had source program as aclass of trade anda_|.
Page 87 Page 89};
1 then Mr. Sykora reporting directly to you at Roxane 1 source program is a marketing program of a wholesaler
2 while they had four or five national account managers 2 and the wholesaler is the class of trade. So I just
3 reporting to them? 3 wanted to be clear.
4 A. Yes. 4 Q. Okay. Well, let’s try to simplify this. Did
5 Q. Other than the administrative assistant, the 5 Roxane designate specific classes of trade that it
6 director of national accounts and four or five 6 sold products to?
7 national account managers, what other Roxane personnel] 7 A. Yes.
8 reported to you? 8 Q. Was the wholesale source class of trade
9 A. That was it. 9 designated as a specific class of trade?
10 Q. And while you were at Roxane in this position 10 A. No.
11 as executive director of trade affairs, would it -- 11 Q. Was it subsumed within wholesalers generally?
12 could you characterize the classes of trade that you 12 A. Not really. I mean, again, I think you're
13 and your group called on? 13 going back and -- and I'm not trying to be difficult,
14 A. Wholesalers, chains and buying groups. 14 I'm trying to just point out the difference. A source
15 Q. When you say wholesalers, do you also include | 15 program is a marketing program of a wholesaler and you].
16 the programs that wholesalers offered where, in 16 keep referencing wholesalers and source programs as if |:
17 essence, they purchased products for their members in |17 they were two different entities and they're not.
18 a--inaco-op situation? 18 And, you know, for the record, we just have to be
19 A. T~ 19 careful on how we start to lump things and clump
20 Q. Do you want me to rephrase? 20 things.
21 A. Yeah, please. 21 Q. Well, I'm -- I'm trying to understand your
22 Q. Are you familiar with wholesale programs 22 testimony as best as I can. What class of trade did
23 known as source programs? 23 you categorize wholesale source programs in in your
24 A. Yes. 24 dealings at Roxane?
25 Q. And -- and what is a source program, 25 A. Wholesale. _
23 (Pages 86 to 89)
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